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               UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF PENNSYLVANIA



IN RE GEISINGER SYSTEM               No. 4:21-cv-00196
SERVICES AND EVANGELICAL
COMMUNITY HOSPITAL                   Chief Judge Matthew W. Brann
HEALTHCARE WORKERS
ANTITRUST LITIGATION


      PLAINTIFFS’ MEMORANDUM OF LAW IN REPLY TO
           DEFENDANTS’ JOINT OPPOSITION TO
      PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
              (REDACTED - PUBLIC VERSION)
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                            TABLE OF ABBREVIATIONS1


    Central Pennsylvania      A region in central Pennsylvania that includes Union,
                              Snyder, Northumberland, Montour, Lycoming, and
                              Columbia counties and the cities of Danville and
                              Lewisburg, where Geisinger Medical Center and
                              Evangelical are headquartered.

    The Class                 All natural persons who worked at Geisinger or
                              Evangelical as Healthcare Workers from January 1,
                              2014 through August 5, 2020. Excluded from the Class
                              are members of Defendants’ boards of directors,
                              Defendants’ C-Suite Executives, and any and all
                              judges assigned to hear or adjudicate any aspect of this
                              litigation and their judicial staff.

    Co-Lead Class Counsel     Berger Montague PC and Cotchett, Pitre & McCarthy,
    or Class Counsel          LLP

    Class Member              A member of the Class (see above)

    Class Period              January 1, 2014 to August 5, 2020

    Class Representatives     Nichole Leib and Kevin Brokenshire

    Complaint or Compl.       Consolidated Amended Class Action Complaint (Feb.
                              2, 2023) (ECF No. 101)

    Defendants                Geisinger System Services and Evangelical
                              Community Hospital

    DOJ Complaint or          Complaint, United States v. Geisinger Health and
    DOJ Compl. (Ex. 50)       Evangelical Cmty. Hosp., No. 4:20-cv-01383-MWB
                              (M.D. Pa. Aug. 5, 2020) (ECF No. 1)


1
 Unless otherwise noted, all exhibits referenced are Exhibits to the Declaration of
Adam J. Zapala in support of Plaintiffs’ Motion for Class Certification (ECF Nos.
181 (Declaration), 188 (Exhibits)).

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    Evangelical              Evangelical Community Hospital

    Geisinger                Geisinger System Services

    Healthcare Workers       Nurses, physicians, advanced practitioners, medical
                             support personnel, and other healthcare professionals
                             (see LR1 ¶ 21)

    Named Plaintiffs         Nichole Leib and Kevin Brokenshire

    No-Poach Agreement or The alleged agreement between Geisinger and
    NPA                   Evangelical not to solicit (or “poach”) each other’s
                          Healthcare Workers

    LR1 (Ex. 3)              Expert Report of Edward Leamer, Ph.D. (Corrected)
                             (Jan. 16, 2024)

    LR2 (Ex. 10)             Rebuttal Report of Edward Leamer, Ph.D. (Apr. 19,
                             2024)

    MR1 (Ex. 4)              Expert Report of Prof. Alan Manning (Jan. 16, 2024)

    MR2 (Ex. 11)             Rebuttal Report of Prof. Alan Manning (Apr. 19,
                             2024)

    BR (Ex. 9)               Expert Report of Laurence Baker, Ph.D. (Further
                             Corrected) (Mar. 8, 2024)

    Baker Dep. Tr.           Excerpt of Deposition Transcript of Laurence Baker,
    (Ex. 12)                 Ph.D.
                             (May 28, 2024)

    Manning Dep. Tr. 2       Deposition Transcript of Alan Manning (May 9, 2024)

    Plaintiffs’ Motion       Plaintiffs’ Memorandum of Law in Support of Motion
    or Mot.                  for Class Certification (ECF No. 178)

2
 Exhibit C to Defs.’ Joint Mot. to Exclude the Testimony of Pls.’ Expert, Prof. Alan
P. Manning (ECF No. 190-3, Ex. C).

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Defendants’ Opposition Memorandum in Support of Defendants’ Joint
or Opp.                Opposition to Plaintiffs’ Motion for Class Certification
                       (ECF No. 201)

Leamer Opp.              Plaintiffs’ Memorandum of Law in Opposition to
                         Defendants’ Joint Motion to Exclude the Testimony of
                         Plaintiffs’ Expert, Prof. Edward Leamer
                         (ECF No. 204)

Manning Opp.             Plaintiffs’ Memorandum of Law in Opposition to
                         Defendants’ Joint Motion to Exclude the Testimony of
                         Plaintiffs’ Expert, Prof. Alan P. Manning
                         (ECF No. 205)

MTD Opp.                 Plaintiffs’ Memorandum of Law in Opposition to
                         Defendants’ Joint Motion to Dismiss Plaintiffs’
                         Consolidated Class Action Complaint and,
                         Alternatively, to Strike Class Allegations
                         (ECF No. 56)




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I.    INTRODUCTION
      Plaintiffs’ Motion showed that each element of Rule 23 is satisfied.

Defendants do not challenge, and thus concede, that Plaintiffs satisfy the numerosity,

adequacy, typicality, and commonality requirements of Rule 23(a).

      Defendants primarily argue that Plaintiffs do not satisfy the “predominance”

element of Rule 23(b)(3), which requires that common issues predominate over

individualized issues. But Plaintiffs’ Motion sets forth record and expert evidence,

all of which is common to the Class, capable of establishing: (1) the violation of

antitrust law, Mot. at 18–21; (2) that Defendants possess market power in a relevant

market (despite such proof not being required), id. at 21–23; (3) antitrust injury (or

“impact”) through a two-step analysis that shows (i) the conspiracy generally

suppressed pay, id. at 23–28, and (ii) this suppression was experienced classwide,

id. at 28–33; and (4) classwide damages, id. at 33–35.3

      Defendants challenge Plaintiffs’ classwide proof as to two elements of

Plaintiffs’ claim: the relevant market component of market power and impact.

Defendants are wrong on the merits but, more importantly, Defendants concede that

the other elements of Plaintiffs’ claim—conspiracy and total damages—are common

issues capable of proof with classwide evidence. This concession is critical because



3
  In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 311 (3d Cir. 2008)
(“Hydrogen Peroxide”).

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in cases alleging conspiracies among horizontal competitors, the trial will focus

almost entirely on proving the existence of the alleged NPA. 4 Thus, Defendants

concede the trial will focus on common issues and evidence, which satisfies Rule

23(b)(3)‘s predominance requirement.5

      Defendants are also wrong on the merits. First, Defendants argue that

Plaintiffs must define a relevant market and that Plaintiffs’ expert’s market definition

is unreliable. Opp. at 21–25. Not so. Plaintiffs allege a per se illegal conspiracy and

thus need not plead or prove a relevant market.6



                                                             7
                                                                 Even if Plaintiffs were

required to define a relevant market, that is a common issue that will be resolved—

either for or against Plaintiffs—on a classwide basis. If Defendants convince the




4
  See, e.g., In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 528 (3d Cir. 2004)
(“Warfarin Sodium”).
5
  Amgen, Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 469 (2013) (“Amgen”)
(common issues must predominate as to plaintiffs’ claims as a whole, but “Rule
23(b)(3) [. . .] does not require a plaintiff seeking class certification to prove that
each element of her claim is susceptible to classwide proof.”) (emphasis original).
6
  See, e.g., In re Ry. Indus. Emp. No-Poach Antitrust Litig., 395 F. Supp. 3d 464, 471
(W.D. Pa. 2019) (“Railway Workers”) (“Plaintiffs [in no-poach case] were not
required to set forth factual allegations sufficient to show plausibly the relevant
market in which the antitrust impact occurred.”).
7
  Mot. at 22–23; Leamer Opp. at 5–6, 17–22.

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factfinder that Plaintiffs’ definition is wrong, that would be a “fatal similarity” that

bolsters predominance and classwide adjudication. 8

      Second, Defendants assert various erroneous arguments claiming Plaintiffs

cannot show classwide impact and thus cannot satisfy Rule 23(b)(3). Opp. at 25–35.

Several of these arguments rely on a misstatement of Plaintiffs’ theory of harm. The

process of competitive recruiting causes wages to rise—employers offer higher pay

for recruits; employers reactively or proactively raise pay to retain employees who

can be recruited; and workers learn about competing wages through recruiting

attempts. A no-poach agreement restricts this competition—that’s why Defendants

made this agreement—which suppresses pay below competitive levels.



             9




                                    10
                                         This evidence, common to the Class, is capable

of proving suppressed pay for the entire Class.11 Defendants argue that the factfinder


8
  Amgen, 568 U.S. at 470; Mot. at 18–20 & n.85.
9
  MTD Opp. at 1–8; Mot. at 2–3, 10–11; LR1 ¶¶ 7.d, 79–104; LR2 ¶¶ 162–97; MR1
¶¶ 12–16, 19–22; MR2 ¶¶ 22–32.
10
   Mot. at 2, 6–10, 18–21, 23–33; Leamer Opp. at 7–11, 22–24, 31–35, Manning
Opp. at 4–6, 24; LR1 ¶¶ 79–104; LR2 ¶¶ 71–81; MR1 ¶¶ 14–17, 20, 26; MR2 ¶¶
36–43.
11
   Hydrogen Peroxide, 522 F.3d at 311–12.

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should find in its favor. But whether a “jury may find [Defendants’ theory] more

compelling” than Plaintiffs’ evidence would be a classwide determination “that

Plaintiffs have failed to prove an element of their claim.” 12 If Defendants are correct,

the entire Class will lose together. This bolsters predominance. 13

      Third, Defendants argue that Plaintiffs cannot show “injury-in-fact” and thus

lack Article III standing because “Plaintiffs’ antitrust theory of liability depends on

Plaintiffs and class members being unaware of jobs at Defendants[.]” Opp. at 17.

This is wrong because it relies on a false description of Plaintiffs’ theory of harm.




                           See generally LR1. As this Court found, suppressed pay is

Article III injury-in-fact.14 Defendants’ argument is essentially that the factfinder

should conclude Plaintiffs cannot prove injury. Defendants are wrong but,

regardless, if Plaintiffs cannot prove injury, the entire Class loses. It is again “fatal

similarity” that supports classwide adjudication. Amgen, 568 U.S. at 470.

      Fourth, Defendants argue the Class is not “ascertainable” because Plaintiffs’

evidence purportedly cannot identify which Class Members are injured and does not



12
   In re Broiler Chicken Grower Antitrust Litig., No. 6:20-md-02977, 2024 WL
2117359, at *23 (E.D. Okla. May. 8, 2024) (“Broilers”).
13
   Amgen, 568 U.S. at 470.
14
   Mem. Op. (Nov. 16, 2021), at 5–7 (ECF No. 66).

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provide any objective criteria for determining who is a “healthcare professional” for

purposes of defining the Class. Opp. at 35. This is wrong and simply recycles

erroneous arguments regarding Plaintiffs’ theory and proof of impact.




                                                    Mot. at 3, 12, 34–35. In short, the

Class has already been “ascertained.”

II.     ARGUMENT
        A.     Common Questions Predominate Over Individualized Issues.

        Plaintiffs satisfy predominance under Rule 23(b)(3), which requires Plaintiffs

to show that their claims’ essential elements raise common questions “capable of

proof at trial through evidence that is common to the class rather than individual to

its members.”15 Although common issues must predominate over Plaintiffs’ claim as

a whole, Rule 23(b)(3) “does not require a plaintiff seeking class certification to

prove that each element of her claim is susceptible to classwide proof.” 16 “Individual

questions need not be absent. The text of Rule 23(b)(3) itself contemplates that such




15
     Hydrogen Peroxide, 552 F.3d at 311–12 (emphasis added).
16
     Amgen, 568 U.S. at 469 (emphasis original) (cleaned up).

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individual questions will be present. The rule requires only that those questions not

predominate over the common questions affecting the class as a whole.”17

      Defendants do not dispute that the trial will focus on proof of conspiracy,18

nor that conspiracy evidence is necessarily common, as it focuses on the Defendants’

unlawful actions, not the actions of individual plaintiffs. 19 Nor do Defendants

challenge that damages are susceptible to classwide proof. Because these are

common issues susceptible to classwide proof, predominance is satisfied.20


17
   Messner v. Northshore Univ. Health Sys., 669 F.3d 802, 815 (7th Cir. 2012);
Railway Workers, 395 F. Supp. 3d at 504 (quoting Messner).
18
   See, e.g., In re Chocolate Confectionary Antitrust Litig., 289 F.R.D. 200, 225
(M.D. Pa. 2012) (Plaintiffs “will present common evidence of all major issues
regarding Defendants’ alleged conspiracy at trial”); In re Pressure Sensitive
Labelstock Antitrust Litig., No. 3:03-MDL-1556, 2007 WL 4150666, at *12 (M.D.
Pa. Nov. 19, 2007) (same).
19
   See, e.g., Warfarin Sodium, 391 F.3d at 528 (“[T]he predominance test is met in
an antitrust case because ‘consideration of the conspiracy issue would, of necessity,
focus on defendants’ conduct, not the individual conduct of the putative class
members[.]’”) (quoting In re Flat Glass Antitrust Litig., 191 F.R.D. 472, 483–84
(W.D. Pa. 1999)); In re Suboxone Antitrust Litig., 421 F. Supp. 3d 12, 75 (E.D. Pa.
2019) (“Liability for anticompetitive conduct centers on the defendants’ conduct, not
the actions of individual class members” and, thus, will be proved classwide); In re
Fine Paper Antitrust Litig., 82 F.R.D. 143, 151–52 (E.D. Pa. 1979) (diversity of
product, marketing and pricing have not been fatal to class certification in numerous
cases where conspiracy is the “overriding predominant question”).
20
   See Tyson Foods v. Bouaphakeo, 577 U.S. 442, 453 (2016); In re Air Cargo
Shipping Servs. Antitrust Litig., No. 06-MD-1175, 2014 WL 7882100, at *40
(E.D.N.Y. Oct. 15, 2014) (“Generally, the plaintiffs’ successful showing of common
evidence of a violation is a compelling reason to find that predominance is satisfied
overall.”); In re Static Random Access Memory Antitrust Litig., 264 F.R.D. 603, 611
(N.D. Cal. 2009) (“Plaintiffs need not show that there will be common proof on each
element of the claim” especially where proof of violation is “the predominant
issue[.]”) (citation omitted).

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             1.     Market definition is a common issue susceptible to
                    classwide evidence.

      Defendants argue Plaintiffs must define a relevant market and that Plaintiffs

failed to do so, defeating predominance. Defendants are wrong on all counts.

      First, Plaintiffs are not required to define a relevant market. Defendants do not

dispute that the alleged conspiracy is subject to the per se analysis but, instead, argue

Plaintiffs must define a relevant market. That has never been the law and is not the

law now.21




21
   Railway Workers, 395 F. Supp. 3d at 471 (“Plaintiffs [alleging no-poach
conspiracy] were not required to set forth factual allegations sufficient to show
plausibly the relevant market in which the antitrust impact occurred.”); see also id.
at 480–85 (explaining why the per se rule applies); In re Mercedes-Benz Antitrust
Litig., 157 F. Supp. 2d 355, 359 (D.N.J. 2001) (“where a per se violation is pled, as
distinct from a violation subject to ‘rule of reason’ analysis, no market definition is
required”).
        Defendants’ cases are inapposite. In Bishop v. GNC Franchising LLC, the
court rejected the plaintiffs’ assertion that the per se rule applied. 403 F. Supp. 2d
411, 422 (W.D. Pa. 2005). Bishop then stated in dicta that a market must be defined
even in per se cases under Section 1 of the Sherman Act, but the cases it cited do not
support the proposition. In Queen City Pizza, Inc. v. Domino’s Pizza, Inc., the court
held that the Section 1 claim involved a vertical non-price restraint subject to the
rule of reason. 922 F. Supp. 1055, 1060 (E.D. Pa. 1996). Likewise, in Bogan v.
Hodgkins, the court held that the alleged agreement was “not a classic interfirm
horizontal restraint of trade,” but was rather “akin to an intra firm agreement,” and
thus was not subject to the per se rule. 166 F.3d 509, 515 (2d Cir. 1999).
        One court in this Circuit disapproved of Bishop’s dicta. Mumford v. GNC
Franchising LLC, 437 F. Supp. 2d 344, 351–52 (W.D. Pa. 2006) (“Defendants first


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LR1 ¶¶ 15–20, § IV; Mot. at 10 & n.25.




                                          22




                                                                                      23


                                                                                      24



This evidence is all common to the Class.

      Defendants nevertheless argue this evidence is “deficient, as it is based on

Prof. Leamer’s unreliable analysis.” Opp. at 22–23. Defendants rehash arguments

from their Daubert challenge to Dr. Leamer’s opinion, and they rely on their own


argue that, as a threshold matter, plaintiffs asserting antitrust injury under section 1
or section 2 of the Sherman Act must plead a relevant market. See Bishop v. GNC
Franchising LLC, 403 F. Supp. 2d 411, 419 (W.D. Pa. 2005). This court disagrees.”).
       Borozny v. Raytheon Techs. Corp. is inapposite because it applies Second
Circuit precedent, which does not apply here and which simply requires a plaintiff
to “describe” the relevant market in the complaint. No. 3:21-cv-1657, 2023 WL
348323, at *10, n.6 (D. Conn. Jan. 20, 2023). In Borozny, the court itself redrew the
relevant market because plaintiffs offered “no allegations” of certain markets. Id. at
*11. Here, Plaintiffs define the proposed market with extensive record and expert
evidence.
22
   LR1 ¶¶ 54–62; LR2 ¶¶ 48–54.
23
   LR1 ¶¶ 44, 47, 54–57, 93, 110; LR2 ¶¶ 47–49, 63–64, 69, 191.
24
   LR1 ¶¶ 59–78; LR2 ¶¶ 7, 9–38, 192–212, 228–39.

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expert’s opinion to contend that a proper assessment of relevant market would

necessitate “individualized inquir[ies].” Opp. at 23–25. Specifically, Defendants

assert that Class Members with different categories of jobs operate in different

relevant markets, distinguished both by geographic scope (e.g., national searches for

specialists versus local facilities for more interchangeable professionals) and by type

of employer (e.g., hospitals that employ such specialists vs. non-hospital employers

like nursing homes). Opp. at 23–24. Defendants are again wrong.

      Plaintiffs have responded to Defendants’ attacks on Dr. Leamer’s analyses in

detail in both the Leamer Rebuttal Report and the Leamer Opposition.
                                                              25




                                  26




           27
                Moreover, Defendants’ argument that doctors are not substitutes for




25
   Leamer Opp. at 5–6, 19–21; LR1 ¶¶ 60–63, LR2 ¶¶ 5, 46–62.
26
   LR2 ¶¶ 57–60.
27
   Leamer Opp. at 18–19; LR1 ¶¶ 47, 64–73, 90; LR2 ¶¶ 64–70.

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nurses (and vice versa), Opp. at 23, is beside the point. The question is what the

workers, not the employers, would view as substitutes.28

      Third, courts routinely find that antitrust market definition is a common

question because it does not depend on individual plaintiff’s circumstances.29

Plaintiffs set forth classwide evidence defining the relevant market. Defendants

dispute it, but the predominance analysis “is not a merit’s determination” and the

question of what “issues might arise if the relevant market is not found to be” what

Plaintiffs assert is not a “question that matters” under Rule 23(b)(3). 30 Predominance

is about whether a claim raises common questions susceptible to classwide evidence




28
   See Lifewatch Servs. Inc. v. Highmark Inc., 902 F.3d 323, 337 (3d Cir. 2018)
(“Critically, in a buyer-side conspiracy case, seller rather than consumer or purchaser
behavior is the focus. The market is comprised of buyers who are seen by sellers as
being reasonably good substitutes.”) (cleaned up).
29
   In re Mushroom Direct Purchaser Antitrust Litig., 319 F.R.D. 158, 197 (E.D. Pa.
2016) (“Mushroom”) (“whether or not there are separate [geographic] markets or
one market [is] a common issue”) (cleaned up); Castro v. Sanofi Pasteur Inc., 134 F.
Supp. 3d 820, 846 (D.N.J. 2015) (“Defining the relevant market focuses on common
data, expert analysis, and economic tests; such proof generally does not vary by class
member.”); Black v. Occidental Petroleum Corp., 69 F.4th 1161, 1178–79 (10th Cir.
2023) (relevant market challenges constitute “class-wide rebuttal evidence” the
resolution of which is “a matter for the jury”); Meyers v. Sw. Bell Tel. Co., 181 F.R.D.
499, 505 (W.D. Okla. 1997) (“Clearly the issues of market power and the relevant
market will be common to all class members.”).
30
   See Mushroom, 319 F.R.D. at 195–97 (defendants proposed competing relevant
market definitions of geographic submarkets).

                                          10
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and not who wins.31 If the jury agrees with Defendants, “that would be class-wide

evidence that Plaintiffs have failed to prove an element of their claim.”32

             2.    Impact is a common issue susceptible to classwide evidence.

      Plaintiffs set forth abundant classwide evidence capable of showing classwide

impact, following “a roadmap widely accepted in antitrust class actions” for

demonstrating classwide impact: (1) the NPA reduced competition for healthcare

workers, and thereby generally suppressed pay, and (2) this suppression was

experienced by all or nearly all Class Members. Mot. at 23–25.

                   a.     Defendants misstate Plaintiffs’ theory of impact.
      Defendants claim that impact cannot be established without individualized

inquiry because Plaintiffs’ “theory of liability depends on Plaintiffs and class

members being unaware of jobs at Defendants,” Opp. at 17, and that Plaintiffs must

investigate whether each Class Member was aware of other opportunities or would

have been poached but for the NPA. Opp at 26; see also id. at 17–18. That is wrong.




31
   See Amgen, 568 U.S. at 481 (“even a definitive rebuttal on the issue [. . .] would
not undermine predominance”).
32
   See Broilers, 2024 WL 2117359, at *23–27 (noting Defendant’s challenge to
alleged national market “may be correct” and if “accepted by a trier of fact, these
arguments [. . .] would likely defeat Plaintiffs’ claim, but they would not require
individualized inquiry. They would defeat the claim with evidence common to the
class.”).

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                          33
                               Mot. at 25–33. This is well-established in the law34
                     35                                                  36




                                                  37
                                                       If the factfinder accepts Plaintiffs’

evidence, classwide impact will be proven with evidence common to each Class

Member. Defendants dispute that evidence supports this theory of harm, but that is

a common issue for the Class.

                    b.         Defendants’ criticisms of Dr. Leamer are wrong on the
                               merits.
      Defendants’ criticisms of Dr. Leamer’s analysis do not refute Plaintiffs’

showing of classwide evidence of impact. First, Defendants claim that “Plaintiffs


33
   LR1 ¶¶ 169-221; LR2 ¶¶ 162-239.
34
   See Broilers, 2024 WL 2117359, at *23 (“Plaintiffs allege all class members were
injured by the NPA, whether or not they would have or could have switched
Integrators, because the anticompetitive effects of the Agreement—suppression of
Grower pay—were transmitted broadly across the class.”); Railway Workers, 395 F.
Supp. 3d at 506–14 (recognizing that, in no-poach cases, a showing of pay structure
emphasizing internal equity is the standard means of showing common impact.);
Nitsch v. Dreamworks Animation SKG Inc., 315 F.R.D. 270, 300 (N.D. Cal. 2016)
(plaintiffs’ expert’s “conclusion that increases in compensation from cold calling
would tend to diffuse through Defendants’ salary structure, impacting class members
generally rather than just the individuals who received the cold calls is reasonable”);
In re High-Tech Emp. Antitrust Litig., 985 F. Supp. 2d 1167, 1192 (N.D. Cal. 2013)
(“High-Tech”) (considering documentary, economic, and econometric evidence to
conclude “all [] employees—not just those who would have received cold calls but
for the anti-solicitation agreements—may have been impacted by the agreements”).
35
   LR1 ¶¶ 184–221; LR2 ¶¶ 165–212; MR1 ¶¶ 17–26, 52–57; MR2 ¶¶ 22–32.
36
   Mot. at 8–9, 23–33; Leamer Opp. at 9–11, 22–24.
37
   LR2 ¶¶ 170–197; MR2 ¶¶ 22–32.

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in Railway Workers, the court dismissed the complaint where, unlike here, the

plaintiffs sought to represent a nationwide class of “all employees regardless of title,

position, or status” across eleven defendants, “including employees with skills

specific to the railway equipment supply industry and employees without skills

specific to that industry[.]” 395 F. Supp. 3d at 506, 514–16 (emphasis added). The

court also found that the plaintiffs failed to allege a mechanism for classwide impact,

but that “other courts in wage suppression or no-hire cases have certified classes and

found antitrust impact could be proven on a class-wide basis when there is evidence

that the class members’ wages were correlated and the defendant-employers

emphasized internal or external equality, which ensured individuals performing

similar jobs are compensated on a similar level.” Id. at 506–13 (collecting cases)

(cleaned up). That is precisely what Plaintiffs’ evidence and expert analysis show,

and many courts have found similar evidence supports classwide impact.42 The

analysis in Railway Workers supports certifying the class in this case.


independent analysis or evidence.” 84 F. App’x 257, 262–64 (3d Cir. 2004). The
court also noted that evidence, such as “whether the salaries for all members of the
proposed class exhibit any sort of correlation over time,” could be classwide
evidence of harm. Id. at 264. Plaintiffs offer more than that here.
42
   Mot. at 28–33. Defendants try to distinguish these cases as involving “much
narrower classes.” Opp. at 22, n.26. But none of these cases predicated class
certification on a finding that the classes involved a narrow set of job types; they
instead found that common evidence of internal equity supported predominance
despite defendants’ claims of variations between different types of employees within
the class. See Nitsch, 315 F.R.D. at 300, 303 (certifying class of multiple job types


                                          16
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                    c.    Proof of impact is a classwide issue.
      Defendants do not argue that Plaintiffs’ impact evidence is individualized.

Defendants argue their evidence should prevail. This is wrong but, regardless, class

certification is not the stage to resolve the merits questions. 43 Moreover, criticisms

regarding admitted expert opinions “go to the persuasiveness of [the] evidence and

do not negate the fact that [the] evidence is common proof.”44 Whether Plaintiffs’

evidence suffices to prove impact is a common question that “would apply with

common force to the entire class.”45 Where a defendant “fails to engage with

Plaintiffs’ theory of impact” and instead “presupposes a theory of impact distinct

from the one Plaintiffs set forth,” a “jury may find [Defendants’] theory more

compelling, but that would be class-wide evidence that Plaintiffs have failed to prove




and finding that “documentary evidence and expert report support Plaintiffs’ theory
that Defendants had company-wide compensation structures that placed a premium
on internal equity”); Broilers, 2024 WL 2117359, at *20–21 (certifying class despite
claims that class member pay varied extensively based on equipment, geography,
and employer; rejecting argument that “Plaintiffs must adduce ‘evidence that the
compensation structures [. . .] were so rigid that the compensations of all
[nationwide] class members were tethered together.’”); Seaman, 2018 WL 671239,
at *6–7 (non-faculty class rejected because no-poach did not apply to non-faculty
and plaintiffs offered separate theory of impact that was not fleshed out in briefing).
43
   Broilers, 2024 WL 2117359, at *21–22 (criticisms of common evidence of impact
“may be accurate, but that is for a trier of fact to determine.”); Tyson Foods, 577
U.S. at 459.
44
   Seaman, 2018 WL 671239, at *9; see also, e.g., Tyson Foods, 577 U.S. at 459.
45
   Broilers, 2024 WL 2117359, at *22.

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an element of their claim.”46 Defendants’ arguments do precisely that. 47 But the

question of which theory should control is common to the Class. Id.

      B.     Defendants’ Standing Arguments Are Meritless and Untimely.

      Defendants argue Plaintiffs lack Article III standing because “Plaintiffs’

antitrust theory of liability depends on Plaintiffs and class members being unaware

of jobs at Defendants, impacting their ability to negotiate salaries, and suppressing

their job mobility and wages.” Opp. at 17 (cleaned up). This is wrong. This Court

previously held that Plaintiffs satisfy Article III standing where the NPA “artificially

reduced their wages.”48                                                         LRI §§

V–VI; MR1 §§ IV–VI. Defendants’ argument also relies on the same misstatement

of Plaintiffs’ theory of impact that undermines Defendants’ predominance argument.




46
   Id. (cleaned up). See also, e.g., Neale v. Volvo Cars of N. Am., LLC, 794 F.3d 353,
371 (3d Cir. 2015) (“Further, predominance does not require that common ‘questions
will be answered, on the merits, in favor of the class.’”) (quoting Amgen, 568 U.S.
at 459)).
47
    Opp. at 25–26 (claiming injury depends on solicitation and knowledge), 27
(asserting statistical analysis of mobility is necessary and that movement, not
mobility, is appropriate form of analysis), 33–34 (asserting that plaintiffs must show
rigidity in a pay structure in order to show common impact).
48
   Mem. Op. (Nov. 16, 2021), at 6–7 (ECF No. 66); see also Cottrell, 874 F.3d at 163
(subsequent history omitted) (“financial harm is a classic and paradigmatic form of
injury in fact”) (cleaned up); Robinson v. Jackson Hewitt, Inc., No. 19-9066, 2019
WL 5617512, at *3 (D.N.J. Oct. 31, 2019) (finding allegations of “reduced
employment mobility and suppressed compensation” sufficient for injury).

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See supra § II.A.2.a.

                                                        LR2 § VI.B. 49

       C.    The Class Is Easily Ascertainable.

       Defendants argue the Class is not ascertainable because Plaintiffs purportedly

failed to provide a method for identifying injured Class Members or to identify

which “other healthcare professionals” are included in the Class. Opp. at 35. Neither

is true.



                    50



                              LR1, Ex. 4,                                             51



Thus, there is no need for “extensive and individualized fact-finding or mini-trials”


49
   Defendants’ reliance on Weisfeld is misplaced. Unlike here, plaintiff’s expert in
Weisfeld performed no analysis and instead “provided only ‘naked conclusions’ that
common proof would demonstrate injury to class members.” 84 F. App’x at 261. The
plaintiff in Weisfeld also alleged a different theory of harm that included “deprivation
of new job opportunities,” id. at 263, which the Weisfeld court found would require
individualized analysis as to whether a given employee in fact sought employment
elsewhere. Defendants also cite authority that this Court already discounted in its
motion to dismiss on grounds that the case “did not involve [NPAs].” Mem. Op.
(Nov. 16, 2021), at 6–7 (ECF No. 66) (discussing Finkelman v. Nat’l Football
League, 810 F.3d 187, 195 (3d Cir. 2016)).
50
   LR1 ¶¶ 21–24, Ex. 4.
51
   As to Defendants’ argument that “other healthcare professionals [. . .] now
inexplicably excludes [patient access representatives,]” Defendants cite a paragraph
in an inoperative version of Plaintiffs’ complaint filed three years ago before
Defendants produced any data in the case. Opp. at 35, n.34. That Plaintiffs have
refined the definition of their Class does not indicate that Class Members are not
ascertainable under the operative Class definition.

                                            19
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to identify injured class members. Opp. at 35. Defendants’ contention otherwise is

premised on their erroneous assertion that there are swaths of uninjured Class

Members which, in turn, is based on a misstatement of Plaintiffs’ theory of impact.52

       Defendants’ cases are inapposite. Opp. at 35. For example, in In re Niaspan

Antitrust Litig., the proposed class was of indirect purchasers of pharmaceuticals

who could not be identified in the available data.53 In Carrera v. Bayer Corp., there

was no evidence that the retailers had the data to identify the proposed class of

purchasers.54 Here, the Class is employees who are all identified in Defendants’

payroll data.55

III.   CONCLUSION
       The Court should grant Plaintiffs’ motion to certify the proposed Class.




52
   Id. (citing section detailing allegations of individualized inquiries necessary to
determine impact); see supra § II.A.2.a.
53
   In re Niaspan Antitrust Litig., 67 F.4th 118, 134 (3d Cir. 2023).
54
   Carrera v. Bayer Corp., 727 F.3d 300, 308–09 (3d Cir. 2013).
55
    Hargrove v. Sleepy’s LLC, 974 F.3d 467, 480 (3d Cir. 2020) (explicitly
distinguishing Carrera, holding that plaintiffs “obtained thousands of records from
[defendant] and have explained how they can use them to identify” class members).

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Dated: August 30, 2024                  Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I, Adam J. Zapala, hereby certify that on August 30, 2024, I filed a true and

correct copy of the foregoing Plaintiffs’ Memorandum of Law in reply to

Defendants’ Joint Opposition to Plaintiffs’ Motion for Class Certification via ECF

and mail to the Clerk of Court. I further certify that the same documents were

served via email upon all counsel of record in this matter.

                                      /s/ Adam J. Zapala
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